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 15
 16                              UNITED STATES BANKRUPTCY COURT
 17                    CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
 18    In re: SCOOBEEZ, et al.                    |   LEAD CASE NO. 2:19-bk-14989-WB
                                                  |
 19                                               |   SUPPLEMENTAL MEMORANDUM IN
                                                  |   SUPPORT OF MOVANTS’ MOTION
 20                                               |   FOR RELIEF FROM THE AUTOMATIC
                                                  |   STAY
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  1                                            I. INTRODUCTION
  2            Pursuant to 11 U.S.C. § 362(d) of the Bankruptcy Code, and Rule 4001 of the Federal Rules
  3    of Bankruptcy Procedure, Arturo Vega and Unta Key (“Vega,” “Key” or collectively “Movants”),
  4    through their undersigned counsel, hereby moves the Court for an entry of an order terminating and
  5    providing relief from the automatic stay imposed under Section 362(a) of the Bankruptcy Code, to
  6    allow Movants to resume and pursue a California State Court case involving Private Attorney Gernral
  7    Act (“PAGA”) claims that was pending before the petition date, entitled Vega, et al. v. Scoobeez, et
  8    al., currently pending in the San Diego Superior Court, Case Number 37-2017-00018285-CU-OE-CTL
  9    (the “Vega/Key action.”)
 10            This motion is made on the grounds that the Plaintiffs in the Vega/Key action seek civil
 11    penalties on behalf of the State of California against SCOOBEEZ. These exact PAGA claims, which
 12    seek only civil penalties, have been specifically held to be not subject to discharge in a bankruptcy
 13    proceeding. 11 U.S.C. § 523(a)(7); Medina v. Vander Poel (E.D. Cal. 2015) 523 B.R. 820, 825-30.
 14    Therefore there are no grounds for a continued stay of that State Court litigation.
 15            This Court has jurisdiction over this Motion pursuant to 11 U.S.C. § 362 of the U.S.
 16    Bankruptcy Code, and Movants seeks relief from the automatic stay for all purposes allowed by U.S.
 17    Bankruptcy law and State law to pursue the remedies sought in the civil action identified above.
 18            II. PROCEDURAL HISTORY AND STATEMENT OF RELEVANT FACTS
 19            Prior to filing the Vega/Key action, both named Plaintiffs sent written notice to the California
 20    Labor & Workforce Development Agency (“LWDA”) pursuant to Labor Code section 2699.3(a)(1).
 21    The notice letters detailed the violations of the Labor Code, with supporting factual allegations, alleged
 22    to have been committed by SCOOBEEZ. (See Exhibits A and B, to the Complaint attached as Exhibit
 23    1 to the accompanying declaration of Eric K. Yaeckel.)
 24            On May 19, 2017, Plaintiff Vega filed his original Complaint in the Vega/Key action. An
 25    amended consolidated complaint was later filed on June 14, 2018, adding additional allegations and
 26    parties. (See Ex. 1 to the accompanying declaration of Eric K. Yaeckel.). This remains the operative
 27    pleadings in the Vega/Key Action. In addition to SCOOBEEZ, the Complaint names multiple non-
 28    debtor parties as co-defendants. (Ex. 1 at ¶¶ 13-17).
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  1            The operative Complaint is brought solely pursuant to the Private Attorneys General Act of
  2    2004 (“PAGA”) and alleges nine causes of action based on violations of the California Labor Code.
  3    Such violations include, but are not limited to, SCOOBEEZ’s practices of failing to pay for all worked,
  4    failure to maintain accurate records, failure to provide lawful meal and rest periods, failure to provide
  5    proper reimbursement for business expenses, and improper retention of gratuities. (See Ex. 1.)
  6           The only remedy sought in the Complaint is civil penalties pursuant to the PAGA statute.
  7    Pursuant to the PAGA statute 75% of penalties recovered in the Vega/Key action are to be distributed
  8    to the State of California’s Labor and Workforce Development Agency. (Labor Code § 2699(i)). The
  9    remaining 25% is distributed to the aggrieved employees. (Id.)
 10           On April 30, 2019, SCOOBEEZ filed as “Notice of Stay of Proccedings” in the Vega/Key
 11    action. (See Ex. 2 to the declaration of Eric K. Yaeckel.) The notice indicated the case was stayed
 12    “[w]ith regard to all parties.” (See Ex. 2 to the accompanying declaration of Eric K. Yaeckel). The
 13    Court accepted this notice and the Registrar of Actions confirms “all proceedings [are] stayed” in the
 14    Vega/Key matter. (See Ex. 3 to the accompanying declaration of Eric K. Yaeckel.)
 15                                        III. LEGAL AUTHORITY
 16           To obtain relief from the automatic stay, the movant must first establish a prima facie case that
 17    “cause” exists for the relief under Section 362(d)(1). (See In re Duvar Apt., Inc., 205 B.R. 196, 200
 18    (9th Cir. BAP 1996).) Once a prima facie case has been established, the burden shifts to the debtor to
 19    show that relief from the stay is unwarranted. (See 11 U.S.C. § 362(g)(2); In re Sonnax Indus., Inc.,
 20    907 F.2d 1280, 1285 (2d Cir. 1990).)
 21           The code is clear that a discharge will not apply where “the extent such debt is for a fine,
 22    penalty, or forfeiture payable to and for the benefit of a governmental unit, and is not compensation
 23    for actual pecuniary loss..” 11 U.S.C.A. § 523(7).
 24           Other circuits have noted that four requirements must be met in order for a debt to be
 25    non-dischargeable under § 523(a)(7). The debt must: (1) be a fine, penalty, or forfeiture, (2) be payable
 26    to a governmental unit; (3) be payable for the benefit of a governmental unit, and (4) not be
 27    compensation for actual pecuniary loss. In re McDowell, 415 B.R. 612, 616-617 (Bankr.S.D.Fla.2008).
 28           PAGA functions as a police action on behalf of the government:
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  1            Because an aggrieved employee's action under the [PAGA] functions as a substitute
              for an action brought by the government itself, a judgment in that action binds all
  2           those, including nonparty aggrieved employees, who would be bound by a judgment
              in an action brought by the government. The act authorizes a representative action
  3           only for the purpose of seeking statutory penalties for Labor Code violations
              (Lab.Code, § 2699, subds.(a), (g)), and an action to recover civil penalties ‘is
  4           fundamentally a law enforcement action designed to protect the public and not to
              benefit private parties'
  5
              [...]
  6
              The civil penalties recovered on behalf of the state under the PAGA are distinct
  7           from the statutory damages to which employees may be entitled in their individual
              capacities.
  8
       (Iskanian v. CLS Transportation Los Angeles, LLC (2014) 59 Cal.4th 348, 381 (emphasis added)).
  9
              The purpose of PAGA penalties is to serve to deter Labor Law violations:
 10
              Representative PAGA actions ‘directly enforce the state’s interest in penalizing and
 11           deterring employers who violate California’s labor laws.’ (Iskanian v. CLS
              Transportation Los Angeles, LLC, supra, 59 Cal.4th at p. 387, 173 Cal.Rptr.3d 289,
 12           327 P.3d 129; see Arias v. Superior Court, supra, 46 Cal.4th at pp. 980–981, 95
              Cal.Rptr.3d 588, 209 P.3d 923.) Hurdles that impede the effective prosecution of
 13           representative PAGA actions undermine the Legislature’s objectives.
 14    (Williams v. Superior Court (2017) 3 Cal.5th 531, 548 (emphasis added).)
 15           In the Bankruptcy context it has been previously held that the PAGA claims fell within the
 16    discharge exception for debts for a fine, penalty, or forfeiture payable to and for the benefit of a
 17    governmental unit. (Medina v. Vander Poel (E.D. Cal January 21, 2015) 523 B.R. 820, 825-30.)
 18           The Medina Court made this finding based on the fact that “there is no reason to believe that
 19    the ‘civil penalties’ described in PAGA are anything but punitive in nature or that they are
 20    ‘compensation for actual pecuniary loss.’” (Medina, 523 B.R. at 826.)
 21           The Court specifically found that a PAGA action is for the benefit of a governmental unit (the
 22    LWDA) despite the argument that there were separate fees and costs that could be awarded (Id.)
 23    Finally the Court conluded (consistent with the PAGA statute) that the penalties are “payable” to a
 24    governmental unit. (Id. at 826-827.)
 25           While Medina appears to be the only reported case addressing the applicability of 11 U.S.C.A.
 26    § 523(7) and PAGA claims, other Court’s have held similarly with regards to other types of civil
 27    penalties. (In re Taite (C.D. Cal. 1987) 76 B.R. 764, 769 [holding “the civil penalties of $750,000
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  1    imposed against Debtors are a debt for a ‘penalty payable to or for the benefit of a governmental unit’
  2    within the meaning of Section 523(a)(7). This penalty is therefore automatically nondischargeable.”].)
  3                                              IV. ARGUMENT
  4    A.      THE PAGA CLAIMS IN THE VEGA / KEY LITIGATION ARE NOT SUBJECT TO
               DISCHARGE
  5
               The Vega / Key action is brought solely as a PAGA only representative action. (Ex. 1). There
  6
       is no dispute that this litigation seeks civil penalties, pursuant to statute, on behalf of the State of
  7
       California.
  8
               The Medina Court has clearly instructed that it was error for the bankruptcy court to conclude
  9
       “that civil penalties under the California Private Attorneys General Act (“PAGA”), Cal. Labor Code.
 10
       § 2699, et seq., do not fall within the exception to discharge set forth in 11 U.S.C. § 523(a)(7).”
 11
               In fact, the Court went as far as to say declining to allow prosecution of PAGA claims because
 12
       of a bankruptcy could lead to an “absurd consequence, wherein the bankruptcy code would completely
 13
       shield labor code violators from the consequences of their illegal activities.” (Medina, 523 B.R. at
 14
       830.)
 15
               There is no reason for this Court to depart from this clear holding. Movants’ state court action
 16
       should be permitted to proceed as any judgment: (1) will not be subject to discharge in bankruptcy;
 17
       and (2) serves the important public policy goal of Labor Code enforcement.
 18
       B.      OTHER RELEVANT FACTORS ALSO SUPPORT A LIFT OF THE STAY
 19
               Movants submit Medina is directly on point and therefore the Court need not consider
 20
       additional factors which may, or may not, support a stay.
 21
               However, should this Court wish to do so, case law has identified twelve nonexclusive factors
 22
       a bankruptcy court should weigh in determining whether the stay should be lifted to allow a creditor
 23
       to continue pending litigation in a non-bankruptcy forum. These factors also support lifting the stay
 24
       in this case.
 25
               Those twelve factors are:
 26
               1. Whether the relief will result in a partial or complete resolution of the issues;
 27
               2. The lack of connection or interference with the bankruptcy case;
 28
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  1           3. Whether the foreign proceeding involves the debtor as a fiduciary;
  2           4. Whether a specialized tribunal has been established to hear the particular cause of action and
  3           whether that tribunal has the expertise to hear such cases;
  4           5. Whether the debtor’s insurance carrier has assumed full financial responsibility for
  5           defending the litigation;
  6           6. Whether the action essentially involves third parties, and the debtor functions only as a
  7           bailee or conduit for the goods or proceeds in question;
  8           7. Whether the litigation in another forum would prejudice the interests of other creditors, the
  9           creditors’ committee and other interested parties;
 10           8. Whether the judgment claim arising from the foreign action is subject to equitable
 11           subordination under Section 510(c);
 12           9. Whether movant’s success in the foreign proceeding would result in a judicial lien avoidable
 13           by the debtor under Section 522(f);
 14           10. The interests of judicial economy and the expeditious and economical determination of
 15           litigation for the parties;
 16           11. Whether the foreign proceedings have progressed to the point where the parties are
 17           prepared for trial; and
 18           12. The impact of the stay on the parties and the “balance of hurt.”
 19    (In re Sonnax Indus., Inc., (2d Cir. 1990) 907 F.2d 1280, 1286; In re Plumberex Specialty Products,
 20    Inc. (C.D. Cal. 2004) 311 B.R. 551, 559.)
 21           All twelve factors are not relevant or applicable in every case. (In re Sonnax Indus., Inc., 907
 22    F.2d at 1286.) Nor is a court required to give each factor equal weight when making its determination.
 23    (In re Burger Boys, Inc., (S.D.N.Y. 1994) 183 B.R. 682, 688.)
 24           As an initial matter, the third through sixth, eighth and ninth factors do not apply here. The
 25    remaining factors all weigh heavily in favor of granting the Movant relief from the stay.
 26           As to the first factor, the relief will allow Movants to resolve all of their outstanding issues with
 27    the debtor via the state court action.
 28
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  1           As to the second factor, Movants’ state court litigation has no direct connection to the
  2    bankruptcy case. Prosecution of the claims cannot interfere with, or effect, the bankruptcy case as any
  3    judgment in the Vega/Key action will not be subject to a bankruptcy discharge.
  4           As to the seventh factor, there will be no prejudice to other creditors for the same reasons.
  5    Since the penalties sought will not be discharged in bankruptcy, creditors can still continue their own
  6    collection efforts through the bankruptcy.
  7            As to the tenth factor, the interests of judicial economy would be minimally impacted by relief
  8    from the stay. The Vega/Key action will need to proceed to a trial and cannot be resolved in the
  9    bankruptcy proceeding. Therefore there is no reason to delay the case from moving forward. Trial is
 10    scheduled for March 6, 2020. (See Ex. 3.) If the stay is not lifted the trial court’s schedule will be
 11    impacted.
 12            As to the eleventh factor, substantial discovery and litigation have already occurred in the
 13    Vega/Key action. Both Plaintiffs were deposed and the majority of the Defendants have been deposed.
 14    Should the stay be lifted Movants will be ready for trial as scheduled on March 6, 2020.
 15             As to the twelfth factor, the imposition of a stay harms not only Movants, but a group of
 16    approximately 2,000 employees whom Movants are seeking to represent by way of their representative
 17    PAGA action. In the Vega/Key action many of the alleged Labor Code violations are ongoing. So a
 18    delay only does a further disservice to this workforce. Finally, the State of California, who would be
 19    able to collect 75% of any judgment, is also adversely impacted by a stay.
 20           In addition to the fact that the Vega/Key action seeks non-dischargeable penalties, all other
 21    relevant factors also support that the bankruptcy stay be lifted.
 22    C.     THE STAY IMPROPERLY SHIELDS MULTIPLE OTHER CO-DEFENDANTS
              FROM THE PROSECUTION OF LABOR CODE CLAIMS
 23
              As noted above, SCOOBEEZ is only one of several Defendants in the Vega/Key action.
 24
       However, SCOOBEEZ bankruptcy filing has caused a stay of the entire litigation, as to all Defendants.
 25
       Because this stay has prevented Plaintiffs from prosecuting the alleged Labor Code violations against
 26
       all of the other parties, public policy further supports lifting the stay to ensure Labor Code compliance.
 27
 28
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  1            The law already confirms that the stay as to SCOOBEEZ should not impact Plaintiff’s ability
  2    to prosecute claims against other co-defendants who are not bankruptcy debtors:
  3            the automatic stay of judicial proceedings against a debtor in bankruptcy does not
               apply to nondebtor codefendants." (Cross v. Cooper (2011) 197 Cal.App.4th 357,
  4            365, fn. 2, 127 Cal.Rptr.3d 903 (Cross); accord, Danko v. O'Reilly (2014) 232
               Cal.App.4th 732, 748, 181 Cal.Rptr.3d 304 (Danko) [" ‘automatic stay does not ...
  5            apply to nondebtor entities such as ... codefendants' "]. ) As a general rule, therefore,
               because "the automatic stay protects only the debtor," the "[b]ankruptcy of one
  6            defendant in a multidefendant case does not stay the case as to the remaining
               defendants." (March et al., Cal. Practice Guide: Bankruptcy (The Rutter Group 2016)
  7            ¶ 8:100, p. 8(I)-8, ¶ 8:125, p. 8(I)-11 [citing federal authorities].)
  8    (Higgins v. Superior Court, (2017) 15 Cal.App.5th 973, 979-80; Accord Freiberg v. City of Mission
  9    Viejo, (1995) 33 Cal.App.4th 1484, 1488).
 10            Additionally, shielding non debtor co defendants in the Vega/Key action is contrary to public
 11    policy given California’s “interest in penalizing and deterring employers who violate California’s labor
 12    laws.” (Iskanian v. CLS Transportation Los Angeles, LLC (2014) 59 Cal.4th 348, 387.)
 13            The Vega/Key action asserts that numerous other Defendants including, but not limited to
 14    Amazon.Com, Inc. Avitus, Inc. and Scoobeez SD LLC were acting as their co-employers and therefore
 15    are liable for numerous labor code allegations. (See Ex. 1 at ¶¶ 30-36.) Accordingly, it was error for
 16    the Vega/Key action to be stayed in its entirety as to all co-defendants. (See Exs. 2-3, confirming the
 17    stay of the entire proceeding.)
 18            Accordingly, the stay should be lifted so Movants can continue to prosecute all of the alleged
 19    Labor Code violations.
 20                                             IV. CONCLUSION
 21            Based on the foregoing, Movants respectfully request that the Court enter an order granting
 22    relief from stay.
 23
       Dated: June 21, 2019                                    SULLIVAN LAW GROUP, APC
 24
                                                               /s/ Eric K. Yaeckel
 25
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 26                                                            Eric K. Yaeckel
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